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                                             United States Bankruptcy Court
                                                          District of Delaware

          In re:    Nortel Networks Inc
                    Case Number 09-10138
                    Entity Name Nortel Networks Inc
                    Entity Case Number 09-10138

                                                                                 Court ID (Court use only)

NOTICE OF PARTIAL TRANSFER OF ADMINISTRATIVE 503(b)(9) CLAIM OTHER THAN
                            FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives notice
pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this
evidence and notice.

Name of Transferee                                                               Name of Transferor
Corre Opportunities Qualified Master Fund, LP                                    Corre Opportunities II Master Fund LP

Name and Address where notices to transferee should be sent:                     Court Record Address of Transferor
                                                                                 (Court Use Only)
Corre Opportunities Qualified Master Fund, LP
1370 Avenue of the Americas, 29th Floor
New York, NY 10019
Attn: Claims Processing (Bankruptcy)

Phone:
646.863.7151
Last Four Digits of Account #:                                                   Last Four Digits of Account #:

Name and Address where transferee payments                                     Name and Current Address of Transferor
should be sent (if different from above)                               Corre Opportunities II Master Fund LP
                                                                               1370 Avenue of the Americas, 29th Floor
                                                                               New York, NY 10019


Phone: Same as Above                                                             Partial Transfer Amount: $4,667.00
                                                                                 Phone:

Last Four Digits of Account #:                                                   Last Four Digits of Account #:

                                                                                 Court Claim # (if known): 5904
                                                                                 Date Claim Filed: 10/06/2009

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.

By: /s/Ryan Quinn                                                                Date:     10/18/2016
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


                                        ~~DEADLINE TO OBJECT TO TRANSFER~~

The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty (20) days of the mailing
of this notice. If no objection is timely received by the court, the transferee will be substituted as the original claimant without further
order of the court.

Date:
                                                                                             CLERK OF THE COURT
